Case 2:03-cr-20005-.]DB Document 248 Filed 08/22/05 Page 1 of 2 l

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
v. No. 03-20005-B
JUANITA GALE ANDREWS,

Defendant.

Page|D 333

Fll.ED E‘»"f .9§’:.. D.C.

05 AUG 22 PH 2= 36

tir}!vil`\`w. “' .COULD
CLEPL M, l §§ T`°TF*CT COUFIT
‘l_wi) C'F i-.i&l»iPHES

 

ORDER DENYING DEFENDANT’S MOTION FOR
EARLY TERMINATION OF SUPERVISED RELEASE

 

Before the Court is the July 26, 2005 motion for early termination of supervised release by

the Defendant, Juanita Gale Andrews. The Court may terminate “a term of supervised release and

discharge the defendant released at any time after the expiration of one year of supervised release,

pursuant to the Federal Rules ofCriminal Procedure.” 18 U.S.C. § 35 83(e)(l ). Although Defendant

has completed one year of supervised release, the Court concludes that the motion should be denied

at this time because Andrews has not been stable and Within the last six months has committed a

technical violation of her supervised release. Additionally, the Defendant has not Worked or received

any income

Accordingly, the Court DENIES Andrews’ motion for early termination of supervised release

at this time.

iT rs so oRDERED this ll day ofAu 2005.

//

 

 

J ANIEL BREEN \
l D sTATEs DisTRiCT JUDGE

Th!s document entered on the docket he t | compliance -
with F`\ule 55 andlor BP.(b) FHCrF on § ii QS @

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 248 in
case 2:03-CR-20005 vvas distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

Juanita Gale Andrevvs
8662 l\/lagnolia Bloom Cove
Cordova, TN 38016

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

l\/lemphis7 TN 38103--111

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

